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11

12                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
13                                   SAN FRANCISCO DIVISION

14

15   IN RE: CATHODE RAY TUBE (CRT)                    Master File No. 3:07-cv-05944-SC
     ANTITRUST LITIGATION                             MDL No. 1917
16
                                                      Judge: Honorable Samuel Conti
17   This document relates to:
                                                      Special Master: Hon. Charles A. Legge (Ret.)
18   Case No. C 11-6397 SC
                                                      DECLARATION OF NOAH G.
19   COSTCO WHOLESALE CORPORATION,                    PURCELL IN SUPPORT OF
                                                      COSTCO’S REPLY IN SUPPORT OF
20                         Plaintiff,                 ITS OBJECTIONS TO THE SPECIAL
                                                      MASTER’S REPORT AND
21          v.                                        RECOMMENDATION COMPELLING
                                                      ARBITRATION WITH THE TOSHIBA
22   HITACHI, LTD., et al.,                           DEFENDANTS

23                         Defendants.                Date:        January 25, 2013
                                                      Time:        10:00 a.m.
24                                                    Before:      Hon. Samuel Conti
                                                      Courtroom:   One, 17th Floor
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     DECL. OF NOAH G. PURCELL ISO COSTCO’S OBJECTIONS TO THE SPECIAL MASTER’S REPORT
     Case No. 07-5944-SC; MDL No. 1917
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 1          I, Noah G. Purcell, hereby declare as follows:
 2          1.      I am an attorney at the law firm Perkins Coie LLP, counsel of record for Plaintiff
 3   Costco Wholesale Corporation in this action. This declaration is submitted in support of Costco’s
 4   Reply In Support of Its Objection to the Special Master’s Report and Recommendation Regarding
 5   the Toshiba Defendants’ Motion to Compel Arbitration. The facts set forth here are based on my
 6   personal knowledge.
 7          2.      On October 30, 2012, Special Master Legge heard argument on Toshiba’s Motion
 8   to Compel Arbitration, Dkt. 1332. Lucius (Albie) Lau argued the motion for Toshiba, while I
 9   argued in opposition for Costco. No court reporter was present, and to my knowledge there is no
10   transcript of the proceeding, though I took extensive notes when not arguing.
11          3.      At the hearing, Special Master Legge questioned Mr. Lau extensively about
12   Toshiba’s concession, in its reply brief, that the only “arbitrable claims” were Costco’s “claims
13   involving Costco’s direct purchases from the Toshiba Defendants,” while Costco’s “claims
14   against the Toshiba Defendants based upon joint and several liability” were not arbitrable and
15   thus should remain in the MDL. Dkt. 1398 at 14-15.
16          4.      Special Master Legge specifically asked Mr. Lau whether Toshiba was asking that
17   all of Costco’s claims should be sent to arbitration and dismissed. Mr. Lau answered, “No,”
18   saying that Toshiba was asking only that Costco’s claim based on direct purchases from Toshiba
19   be sent to arbitration. He said that Costco’s claim against Toshiba based on joint and several
20   liability was not subject to arbitration and should remain in the MDL, as Judge Illston held in the
21   LCD MDL.
22          5.      Special Master Legge asked Mr. Lau why Toshiba sought this result and whether it
23   would be more efficient to send Costco’s entire claim against Toshiba, including its claim for
24   joint and several liability, to arbitration. Mr. Lau responded that while that approach might be
25   more efficient, the law required bifurcating Costco’s claim here and that Toshiba had “strategic
26   reasons” for seeking that result.
27          6.      At the conclusion of the hearing, Special Master Legge ruled that he would grant
28   Toshiba’s motion to compel arbitration and reject Costco’s contrary arguments, but that, per
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     DECL. OF NOAH G. PURCELL ISO COSTCO’S OBJECTIONS TO THE SPECIAL MASTER’S REPORT
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 1   Toshiba’s concession and Costco’s argument, Costco’s claims against Toshiba would remain in
 2   the MDL to the extent they were based on purchases of other manufacturers’ products (i.e., to the
 3   extent they were based on joint and several liability). He asked Toshiba counsel to draft a report
 4   and recommendation for his signature embodying his ruling.
 5           7.       On November 5, 2012, Mr. Lau sent me a draft of the proposed order he hoped to
 6   send to Special Master Legge. I did not suggest any substantive changes to the provisions related
 7   to joint and several liability.
 8           8.       On November 7, Mr. Lau sent the draft report and recommendation to Special
 9   Master Legge’s assistant, Sarah Nevins. Attached as Exhibit A is a true and correct copy of that
10   email and the attached proposed report and recommendation.
11           9.       That same day, Special Master Legge entered the Report and Recommendation,
12   with his only change being a handwritten revision to paragraph 2 not relevant here. See Dkt.
13   1433.
14           I declare under penalty of perjury under the laws of the United States of America that the
15   foregoing is true and correct.
16           Executed this 5th day of December, 2012, at Seattle, Washington.
17

18                                                By:        s/ Noah G. Purcell
                                                              Noah G. Purcell
19   29040-0318/LEGAL25302172.1

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     DECL. OF NOAH G. PURCELL ISO COSTCO’S OBJECTIONS TO THE SPECIAL MASTER’S REPORT
     Case No. 07-5944-SC; MDL No. 1917
